  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 1 of 22




                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                          *              MDL NO. 1873
FORMALDEHYDE PRODUCT                         *
LIABILITY LITIGATION                         *
                                             *              SECTION “N‐5”
THIS DOCUMENT RELATES TO:                    *
Case Nos. 09-8374, 11-0410                   *              JUDGE ENGELHARDT
                                             *
                                             *              MAG. JUDGE CHASEZ
****************************
  MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS FOR
 FAILURE TO COMPLY WITH PRE-TRIAL ORDERS NO. 2 AND 32 RELATING TO
  PLAINTIFF FACT SHEETS AND THE MATCHING REQUIREMENTS OF PRE-
                   TRIAL ORDERS NO. 38, 49 AND 68

MAY IT PLEASE THE COURT:

       Forest River, Inc. moves this Honorable Court for an Order dismissing the claims of the

following plaintiffs, with prejudice, for failure to comply with Pre-Trial Orders Nos. 2 and 32

Relating to the Production of Plaintiff Fact Sheets and the matching requirements of Pre-Trial

Orders No. 38, 49 and 68.

   •   Valerie C. Barnes (Plaintiff in Albert, C.A. 09-8374)
   •   Bradford C. Brooks (Plaintiff in Albert, C.A. 09-8374)
   •   Shalonda Captain o/b/o S.C. (Plaintiff in Albert, C.A. 09-8374)
   •   Melwyn Clayton o/b/ D.C. (Plaintiff in Albert, C.A. 09-8374)
   •   Kenneth J. Dimery (Plaintiff in Albert, C.A. 09-8374)
   •   Angiela L. Green (Plaintiff in Albert, C.A. 09-8374)
   •   Keith Heechung, Jr. o/b/o E.H. (Plaintiff in Albert, C.A. 09-8374)
   •   Michelle Johnson (Plaintiff in Albert, C.A. 09-8374)
   •   Joseph Johnson o/b/o S.J. (Plaintiff in Albert, C.A. 09-8374)
   •   John Kissanis (Plaintiff in Albert, C.A. 09-8374)
   •   Spencer E. Vitto, Sr. (Plaintiff in Albert, C.A. 09-8374)
   •   Eloise E. Gums (Plaintiff in Gums, C.A. 11-0410)
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 2 of 22




       BACKGROUND - CREATION OF MDL AND FACT SHEET PROCESS

       The above captioned Multi-District Litigation was created in 2007 to allow for the

consolidated resolution and completion of discovery and other pre-trial matters. On January 30,

2008 the Court issued Pre-Trial Order (“PTO” or “Order”) No. 2, describing procedures for

various case management issues. This Pre-Trial Order introduced the “Plaintiff Fact Sheet”

(PFS), which would serve as the substitute for the initial rounds of Interrogatories and Requests

for Production of Documents in a more standardized and simplified format. Rec. Doc. No. 87.

The Order also established a process for “curing” these fact sheets when any particular plaintiff

failed to comply with its obligation to submit a properly completed PFS Sheet. In outlining the

curing process, the Order stated that when any plaintiff failed to materially comply with the

obligation to submit a completed PFS within the timelines established, counsel for the defendants

was to send the plaintiff’s counsel a letter explaining the material deficiency in the PFS. Id. at p.

8—9. The letter would specifically list each alleged material deficiency and state that the

defendants would seek dismissal if the plaintiff failed to cure the deficiencies in his or her PFS

within 30 days. Id.

       Subsequently, on March 18, 2009, the Court amended PTO No. 2 with PTO No. 32 as to

the due dates for these same PFSs. Rec. Doc. No. 1180. Because of the large number of cases

being filed in the summer of 2009, PTO No. 32 provided new deadlines for the production of the

PFSs and it also retained the same curing procedure as was set forth in PTO No. 2.

       On May 27, 2009 the Court entered PTO No. 38 thereby placing on each plaintiff the

burden of identifying and naming the sole manufacturer responsible for erecting the FEMA unit

in which he or she was housed. Rec. Doc. No. 1596. For complaints that had already been filed

or transferred to this Court as of December 9, 2009, the deadline to complete this matching

expired twenty days thereafter, on December 29, 2009. See Pre-Trial Order No. 49 (Rec. Doc.
                                                 2
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 3 of 22




8908). For complaints not already filed or transferred to this Court by December 9, 2009, the

pre-trial order requires that plaintiffs “shall be matched with a specific manufacturing defendant

within 45 days of the date of the filing of the Complaint.” Id. (emphasis omitted). Pre-Trial

Order No. 45 further provides that the matching deadline is subject to extension “for good cause

shown.” Id. The above listed complaints were filed on December 28, 2009 and December 29,

2009, respectively. Thus, plaintiffs’ deadline for matching to the correct, single manufacturing

defendant expired 45 days from the date of filing, or February 11, 2010 for the Albert’s

plaintiffs; the deadline for the Gums’ plaintiff expired 45 days from the date of filing, or

February 12, 2010. If the above listed plaintiffs were some of the plaintiffs who had trouble

obtaining matching information, and their attorneys fulfilled the strict requirements for

participating in the “last chance” matching process established by the Court, then their deadline

for participating in this process would have been August 2, 2010. See Amended Pre-Trial Order

No. 68 Concerning Deadlines for Matching and Filing (Rec. Doc. 14779). While Plaintiffs’

counsel have not given any indication that the above listed plaintiffs participated in the “last

chance” process, at the very latest, the deadline for matching the plaintiffs with the correct

manufacturing defendant expired more than a year ago.

          The Plaintiffs listed above have failed to comply with the deficiency and curing

procedures set out in PTO Nos. 2 and 32 and with the matching requirements of PTO Nos. 38, 49

and 68.

                                    LAW AND ARGUMENT

          Here, Forest River respectfully submits that the Plaintiffs listed above have failed to

comply with PTO Nos. 2, 32, 38, 49 and 68, and therefore, this Court should dismiss their

claims.



                                                 3
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 4 of 22




       Rule 41(b) of the Federal Rules of Civil Procedure provides the basis for dismissal for

failure to comply with a court order. The authority is based on the court’s power to manage and

administer its own affairs, and to ensure the orderly and expeditious disposition of cases. Berry v.

CIGNA/RSI-CIGNA, 975 F.2d 1188, 1190 (5th Cir. 1992); Colle v. Brazos County, Tex., 981 F.2d

237, 242-243 (5th Cir. 1993).

       Specifically, Rule 41(b) states: “For failure of the plaintiff to prosecute or to comply with

these rules or any order of court, a defendant may move for dismissal of an action or of any

claim against him.” The established rule in the Fifth Circuit is that dismissal under Rule 41(b) is

appropriate when there is a clear record of delay or contumacious conduct and lesser sanctions

would not serve the best interests of justice. Wrenn v. American Cast Iron Pipe Co., 575 F.2d

544, 546 (5th Cir. 1978); Connolly v. Papachristid Shipping Ltd., 504 F.2d 917 (5th Cir. 1974);

Pond v. Braniff Airways, Inc., 453 F.2d 347 (5th Cir. 1972); Brown v. Thompson, 430 F.2d 1214

(5th Cir. 1970).

       A Plaintiff Fact Sheet includes 122 questions that were to be answered. In Pre-Trial

Order No. 88, the Court temporarily narrowed the PFS deficiency process to twenty-three “key”

questions (except for cases where deficiency notices had been served and the time for curing

such deficiencies already had expired) and, for deficiency notices served after March 24, 2011,

extended the time for curing deficiencies by an additional thirty days. See Rec. Doc.22124

(signed June 24, 2011), as corrected in Rec. Doc. 22153.


       Valerie C. Barnes

       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed, Forest River received the unsigned and undated Plaintiff Fact Sheet of Valerie C.

Barnes (See Plaintiff Fact Sheet of Valerie C. Barnes, attached as Exhibit “A”). Upon receipt of


                                                 4
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 5 of 22




the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Valerie C. Barnes’s PFS. (See

Rule 37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as

Exhibit “B”).


       Information that is critical to this Plaintiff’s claim, such as the trailer’s VIN and the

Plaintiff’s signed certification were requested on April 6, 2011. Plaintiff’s Counsel provided

Forest River with a revised PFS on or about May 9, 2011, wherein a signed certification was

provided; however, both the initial and revised PFS identified the Manufacturer as “Unknown at

this time,” and the VIN, FEMA Id and Barcode as “Not Applicable,” which are not responsive

answers. Further, this Plaintiff has clearly indicated that she does not know who manufactured

the FEMA housing unit she occupied. In response to the PTO 88 items, on June 29, 2011, Forest

River requested additional information on the smoking history of other trailer resident(s) and

request for reimbursement of medical expenses. The appropriate 60 days for responding to

Forest River’s Rule 37 Deficiency Letter dated June 29, 2011 has lapsed and Plaintiff has not

cured the noted deficiencies.    Forest River has received no requests for extensions or the

production of PFS amendments or errata sheets with regard to this Plaintiff.

       In addition to not knowing who manufactured the FEMA housing unit she occupied, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:

                 INFORMATION/DATA                        PFS SECTION
                Manufacturer                                 V.A.1.
                VIN                                           V.A.2.
                FEMA Id                                       V.A.3.
                Barcode                                       V.A.4.
       (See Ex. “A”)

                                                5
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 6 of 22




       While Valerie C. Barnes has answered 19 of the required 23 key questions, she does not

know who manufactured the FEMA housing unit she occupied. To date, her PFS remains

deficient. This Plaintiff does not belong in a suit against Forest River and her claim should be

dismissed accordingly.

       Bradford C. Brooks


       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed, Forest River received the unsigned and undated Plaintiff Fact Sheet of Bradford C.

Brooks (See Plaintiff Fact Sheet of Bradford C. Brooks, attached as Exhibit “C”). Upon receipt

of the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Bradford C. Brook’s PFS. (See

Rule 37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as

Exhibit “B”).

       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN and signed

certification were requested on April 6, 2011. In response to the PTO 88 items, on June 29,

2011, Forest River requested additional information from Liaison Counsel for Plaintiff’s FEMA

Id, Barcode, names of all trailer resident(s), smoking history of other trailer resident(s), prior

medical history, request for reimbursement of medical expenses, wage claim and signed

certification. The appropriate 60 days for responding to Forest River’s Rule 37 Deficiency

Letters has lapsed and Plaintiff has not cured the noted deficiencies. Forest River has received

no requests for extensions or the production of PFS amendments or errata sheets with regard to

this Plaintiff. Most importantly, this Plaintiff’s PFS identified Fleetwood, rather than Forest

River, as the manufacturer and responded with “Not Applicable” for the VIN, FEMA Id, and


                                                6
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 7 of 22




Barcode, which are not responsive answers. Because this Plaintiff has clearly admitted that he

did not stay in a Forest River unit (See attached Exhibit “C”), his claim should be dismissed from

a suit against Forest River.

       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                 INFORMATION/DATA                         PFS SECTION
               VIN                                            V.A.2.
               FEMA Id                                         V.A.3
               Barcode                                         V.A.4.
               Signed Certification
       (See Ex. “C”)

       While Bradford C. Brooks has answered 20 of the required 23 key questions, he did not

sign his PFS Certification, he did not stay in a Forest River unit, was incorrectly matched in a

suit against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Therefore, this Plaintiff’s PFS still remains deficient and he does not

belong in a suit against Forest River; his claim should be dismissed accordingly.

       Sholanda Captain on behalf of S.C.

       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received the unsigned and undated Plaintiff Fact Sheet of S.C. (See

Plaintiff Fact Sheet of S.C., attached as Exhibit “D”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. In accordance with the agreed-to

PFS process, Forest River thereby sent Rule 37 Deficiency Letters on April 6, 2011 and June 29,

2011, outlining all deficiencies of S.C.’s PFS. (See Rule 37 Deficiency Letters to Counsel for

Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit “B”).



                                                7
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 8 of 22




       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN, Plaintiff’s

smoking history, smoking history of other resident(s) and signed certification were requested on

April 6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested

additional information from Plaintiff on the smoking history of other trailer resident(s), prior

medical history, and request for reimbursement of medical expenses. Forest River received

untimely responses from Plaintiff’s Counsel to both Rule 37 Deficiency Letters.              Most

importantly, this Plaintiff’s initial PFS and revised PFS identified Cavalier, rather than Forest

River, as the manufacturer and responded with “Not Applicable” for the VIN, FEMA Id, and

Barcode, which are not responsive answers. Because this Plaintiff has clearly admitted that she

did not stay in a Forest River unit (See attached Exhibit “D”), she does not belong in a suit

against Forest River.


       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                 INFORMATION/DATA                         PFS SECTION
               VIN                                            V.A.2.
               FEMA Id                                        V.A.3.
               Barcode                                        V.A.4.
       (See Ex. “D”)


       While S.C. has answered 20 of the required 23 key questions, she did not stay in a Forest

River unit, was incorrectly matched in a suit against Forest River and has missed the deadline for

being matched with the correct manufacturing defendant. Therefore, this Plaintiff’s PFS still

contains deficiencies, she does not belong in a suit against Forest River and her claim should be

dismissed accordingly.



                                                8
  Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 9 of 22




       Melwyn Clayton on behalf of D.C.

       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received the improperly signed Plaintiff Fact Sheet of D.C. (See Plaintiff

Fact Sheet of D.C., attached as Exhibit “E”). Upon receipt of the fact sheet, Counsel for Forest

River reviewed it and deemed the fact sheet deficient. In accordance with the agreed-to PFS

process, Forest River thereby sent Rule 37 Deficiency Letters on April 6, 2011 and June 29,

2011, outlining all deficiencies of D.C.’s PFS. (See Rule 37 Deficiency Letters to Counsel for

Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit “B”).


       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN was requested

on April 6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested

additional information from Plaintiff on the smoking history of other trailer resident(s), prior

medical history, request for reimbursement of medical expenses, wage claim and signed

certification. Forest River received an untimely response from Plaintiff’s Counsel to the Rule 37

Deficiency Letter sent on June 29, 2011. Most importantly, this Plaintiff’s PFS identified

Cavalier, rather than Forest River, as the manufacturer, and listed a vehicle identification number

(“VIN”) with a X$X$TSMH prefix, which is not a Forest River prefix. Because this Plaintiff has

clearly admitted that he did not stay in a Forest River unit (See attached Exhibit “E”), his claim

should be dismissed for failure to match with the correct manufacturing defendant pursuant to

the deadlines set forth in PTO 38, 49 and 68.


       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:



                                                 9
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 10 of 22




                  INFORMATION/DATA                        PFS SECTION
                Signed Certification
       (See Ex. “E”)


       While D.C. has answered all 23 of the required key questions, he did not sign his PFS

Certification, did not stay in a Forest River unit, was incorrectly matched in a suit against Forest

River and has missed the deadline for being matched with the correct manufacturing defendant.

Therefore, this Plaintiff’s PFS still contains deficiencies, he does not belong in a suit against

Forest River and his claim should be dismissed accordingly.

       Kenneth J. Dimery

       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received the unsigned and undated Plaintiff Fact Sheet of Kenneth J.

Dimery (See Plaintiff Fact Sheet of Kenneth J. Dimery, attached as Exhibit “F”). Upon receipt

of the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Kenneth J. Dimery’s PFS. (See

Rule 37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as

Exhibit “B”).

       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN and signed

certification were requested on April 6, 2011. In response to the PTO 88 items, on June 29,

2011, Forest River requested additional information from Plaintiff on the FEMA Id, Barcode,

smoking history of other trailer resident(s), prior medical history, and request for reimbursement

of medical expenses, wage claim and signed certification. Forest River received untimely

responses from Plaintiff’s Counsel to both Rule 37 Deficiency Letters. Most importantly, this

Plaintiff’s PFS identified Cavalier, rather than Forest River, as the manufacturer, and listed a

                                                10
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 11 of 22




vehicle identification number (“VIN”) with a RB05AL prefix, which is not a Forest River prefix.

Because this Plaintiff has clearly admitted that he did not stay in a Forest River unit (See

attached Exhibit “F”), his claim should be dismissed for failure to match with the correct

manufacturing defendant pursuant to the deadlines set forth in PTO 38, 49 and 68.


       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                 INFORMATION/DATA                         PFS SECTION
               Signed Certification
       (See Ex. “F”)


       While Kenneth J. Dimery has answered all 23 of the required key questions, he did not

sign his PFS Certification, did not stay in a Forest River unit, was incorrectly matched in a suit

against Forest River and has missed the deadline for being matched with the correct

manufacturing defendant. Therefore, this Plaintiff’s PFS still contains deficiencies, he does not

belong in a suit against Forest River and his claim should be dismissed accordingly.


       Angiela L. Green


       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received a blank, unsigned and undated Plaintiff Fact Sheet of Angiela L.

Green (See Plaintiff Fact Sheet of Angiela L. Green, attached as Exhibit “G”). Upon receipt of

the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Angiela Green’s PFS. (See Rule




                                               11
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 12 of 22




37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as

Exhibit “B”).


       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s symptoms, cancer

history, VIN, move in and move out date, smoking history, other smoking history of trailer

resident(s), documents A-G, medical providers and signed certification were requested on April

6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested additional

information from Plaintiff on the smoking history of other trailer resident(s), prior medical

history, and request for reimbursement of medical expenses, wage claim, number of hours spent

in trailer and signed certification. Forest River received untimely responses from Plaintiff’s

Counsel to both Rule 37 Deficiency Letters. Most importantly, this Plaintiff does not know who

manufactured the FEMA housing unit she occupied. The Plaintiff identified the manufacturer,

vehicle identification number (“VIN”), FEMA ID and Barcode with “Awaiting Disaster File,”

which are not responsive answers.      Thus, this Plaintiff has clearly indicated that she does not

know which FEMA housing unit she occupied.


       In addition to not knowing who manufactured the FEMA housing unit she occupied, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:


                 INFORMATION/DATA                         PFS SECTION
                Manufacturer                                  V.A.1.
                VIN                                            V.A.2.
                FEMA Id                                        V.A.3
                Barcode                                        V.A.4.
                Signed Certification
       (See Ex. “G”)




                                                12
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 13 of 22




         While Angiela Green has answered all 19 of the required 23 key questions, her PFS

remains deficient. She does not know who manufactured the FEMA housing unit she occupied,

she does not belong in a suit against Forest River and her claims should be dismissed on that

basis.

         Keith Heechung, Jr. o/b/o E.H.

         Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received a blank, unsigned and undated Plaintiff Fact Sheet of E.H. (See

Plaintiff Fact Sheet of E.H., attached as Exhibit “H”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. In accordance with the agreed-to

PFS process, Forest River thereby sent Rule 37 Deficiency Letters on April 6, 2011 and June 29,

2011, outlining all deficiencies of E.H.’s PFS. (See Rule 37 Deficiency Letters to Counsel for

Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit “B”).

         Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN, smoking

history, other smoking history of trailer resident(s) and signed certification were requested on

April 6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested

additional information from Plaintiff on the FEMA Id, Barcode, smoking history of other trailer

resident(s), prior medical history, and request for reimbursement of medical expenses and signed

certification. Forest River received untimely responses from Plaintiff’s Counsel to both Rule 37

Deficiency Letters. Most importantly, this Plaintiff has clearly indicated that she does not know

who manufactured the FEMA housing unit she occupied.                    The Plaintiff identified the

manufacturer as “Unknown at this time” and the VIN was “Not Applicable.”


         In addition to not knowing who manufactured the FEMA housing unit she stayed in, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:


                                                13
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 14 of 22




                  INFORMATION/DATA                        PFS SECTION
                 Manufacturer                                 V.A.1.
                 VIN                                           V.A.2.
                 Signed Certification
        (See Ex. “H”)


        While E.H. has answered 21 of the required 23 key questions, she did not sign her PFS

Certification and does not know who manufactured the FEMA housing unit she occupied;

therefore, she does not belong in a suit against Forest River, and her claim should be dismissed

on that basis.

        Michelle Johnson

        Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received a blank, unsigned and undated Plaintiff Fact Sheet of Michelle

Johnson (See Plaintiff Fact Sheet of Michelle Johnson, attached as Exhibit “I”). Upon receipt of

the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Michelle Johnson’s PFS. (See

Rule 37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as

Exhibit “B”). Information that is critical to this Plaintiff’s claim, such as Plaintiff’s symptoms,

cancer history, VIN, move in and move out dates, smoking history, other smoking history of

trailer resident(s), documents A-G, medical providers and signed certification were requested on

April 6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested

additional information from Plaintiff on the smoking history of other trailer resident(s), request

for reimbursement of medical expenses and signed certification. Forest River received untimely

responses from Plaintiff’s Counsel to both Rule 37 Deficiency Letters. Most importantly, this

Plaintiff identified Gulf Stream and Cavalier, rather than Forest River, as the manufacturers,
                                                14
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 15 of 22




while the VIN and FEMA Id were “Not Applicable,” which are not responsive answers. Forest

River has received a deficient fact sheet that plaintiff has not cured within the requisite deadline.

Further, it has not received any requests for extensions, any other kinds of responses or a

production of any PFS Amendments or errata sheets with regard to the plaintiff.

       In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                 INFORMATION/DATA                          PFS SECTION
               VIN                                             V.A.2.
               FEMA Id                                          V.A.3.
               Signed Certification
       (See Ex. “I”)


       While Michelle Johnson has answered 21 of the required 23 key questions, her PFS

remains deficient, did not stay in a Forest River unit was incorrectly matched in a suit against

Forest River and has missed the deadline for being matched with the correct manufacturing

defendant. Therefore, this Plaintiff’s PFS still contains deficiencies, she does not belong in a suit

against Forest River and should be dismissed on that basis.


       Joseph Johnson on behalf of S.J., minor child


       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received a blank, unsigned and undated Plaintiff Fact Sheet of S.J. (See

Plaintiff Fact Sheet of S.J., attached as Exhibit “J”). Upon receipt of the fact sheet, Counsel for

Forest River reviewed it and deemed the fact sheet deficient. In accordance with the agreed-to

PFS process, Forest River thereby sent Rule 37 Deficiency Letters on April 6, 2011 and June 29,




                                                 15
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 16 of 22




2011, outlining all deficiencies of S.J.’s PFS. (See Rule 37 Deficiency Letters to Counsel for

Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit “B”).


       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s symptoms, cancer

history, VIN, move in and move out dates, smoking history, other smoking history of trailer

resident(s), documents A-G, medical providers and signed certification were requested on April

6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested additional

information from Plaintiff on prior medical history, and request for reimbursement of medical

expenses. Forest River received untimely responses from Plaintiff’s Counsel to both Rule 37

Deficiency Letters.    Most importantly, this Plaintiff identified the manufacturer, VIN and

Barcode with “Awaiting Disaster File,” which are not responsive answers. Forest River has

received a deficient fact sheet that plaintiff has not cured within the requisite deadline. Further,

it has not received any requests for extensions, any other kinds of responses or a production of

any PFS Amendments or errata sheets with regard to the plaintiff.


       In addition to not knowing who manufactured the FEMA housing unit she stayed in, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:


                INFORMATION/DATA                          PFS SECTION
               Manufacturer                                   V.A.1.
               VIN                                             V.A.2.
               Barcode                                         V.A.4.
               (See Ex. “J”)


       While S.J. has answered all 20 of the required 23 key questions, the PFS remains

deficient. He does not know who manufactured the FEMA housing unit he occupied, does not

belong in a suit against Forest River, and should be dismissed on that basis.



                                                16
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 17 of 22




        John Kissanis

        Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received an unsigned and undated Plaintiff Fact Sheet of John Kissanis

(See Plaintiff Fact Sheet of John Kissanis, attached as Exhibit “K”). Upon receipt of the fact

sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In accordance

with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters on April 6,

2011 and June 29, 2011, outlining all deficiencies of John Kissanis PFS.              (See Rule 37

Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit

“B”).

        Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN, smoking

history, other smoking history of trailer resident(s) and signed certification were requested on

April 6, 2011. In response to the PTO 88 items, on June 29, 2011, Forest River requested

additional information from Plaintiff on smoking history of other trailer residents and wage

claim. Forest River received untimely responses from Plaintiff’s Counsel to both Rule 37

Deficiency Letters. Most importantly, this Plaintiff identified the manufacturer as “Unknown at

this time” and the VIN and Barcode were “Not Applicable,” which are not responsive answers.

Forest River has received a deficient fact sheet that plaintiff has not timely cured. Further, it has

not received any requests for extensions, any other kinds of responses or a production of any PFS

Amendments or errata sheets with regard to the plaintiff.

        In addition to not knowing who manufactured the FEMA housing unit he stayed in, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:


                INFORMATION/DATA                            PFS SECTION
               Manufacturer                                     V.A.1.
               VIN                                              V.A.2.

                                                 17
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 18 of 22




               Barcode                                         V.A.4.
       (See Ex. “K”)


       While John Kissanis has answered 20 of the required 23 key questions, his PFS remains

deficient. He does not know who manufactured the FEMA housing unit he occupied, does not

belong in a suit against Forest River and should be dismissed on that basis.

       Spencer E. Vitto, Sr.


       Brenda Albert v. Forest River, Inc. was filed December 28, 2009. After the complaint

was filed Forest River received an unsigned and undated Plaintiff Fact Sheet of Spencer E. Vitto,

Sr. (See Plaintiff Fact Sheet of Spencer E. Vitto, Sr., attached as Exhibit “L”). Upon receipt of

the fact sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In

accordance with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters

on April 6, 2011 and June 29, 2011, outlining all deficiencies of Spencer E. Vitto, Sr.’s PFS.

(See Rule 37 Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011,

attached as Exhibit “B”).


       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN and signed

certification were requested on April 6, 2011. In response to the PTO 88 items, on June 29,

2011, Forest River requested additional information from Plaintiff on FEMA Id, Barcode,

smoking history of other trailer residents, prior medical history, request for reimbursement of

medical expenses and signed certification. Forest River received an untimely response from

Plaintiff’s Counsel to the Rule 37 Deficiency Letter sent June 29, 2011, while no response was

received to the April 6, 2011 letter. Most importantly, this Plaintiff identified Fleetwood, rather

than Forest River, as the manufacturer and the VIN listed “Not Applicable,” which is not a

responsive answer. Therefore, Forest River has received a deficient fact sheet that plaintiff has

                                                18
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 19 of 22




not timely cured. Further, it has not received any requests for extensions, any other kinds of

responses or a production of any PFS Amendments or errata sheets with regard to the plaintiff.


        In addition to not staying in a Forest River unit, the Plaintiff Fact Sheet failed to answer

the following key questions required by PTO 88:


                 INFORMATION/DATA                          PFS SECTION
               VIN                                             V.A.2.
               Signed Certification
        (See Ex. “L”)


        While Spencer E. Vitto, Sr. has answered 22 of the required 23 key questions, his PFS

remains deficient, did not stay in a Forest River unit was incorrectly matched in a suit against

Forest River and has missed the deadline for being matched with the correct manufacturing

defendant. Therefore, this Plaintiff’s PFS still contains deficiencies, she does not belong in a suit

against Forest River and should be dismissed on that basis.


        Eloise E. Gums (Plaintiff in Gums, C.A. 11-0410)


        Eloise E. Gums v. Forest River, Inc. was filed December 29, 2010. After the complaint

was filed Forest River received an unsigned and undated Plaintiff Fact Sheet of Eloise E. Gums.

(See Plaintiff Fact Sheet of Eloise E. Gums, attached as Exhibit “M”). Upon receipt of the fact

sheet, Counsel for Forest River reviewed it and deemed the fact sheet deficient. In accordance

with the agreed-to PFS process, Forest River thereby sent Rule 37 Deficiency Letters on April 6,

2011 and June 29, 2011, outlining all deficiencies of Eloise E. Gums’ PFS. (See Rule 37

Deficiency Letters to Counsel for Plaintiff, April 6, 2011 and June 29, 2011, attached as Exhibit

“B”).



                                                 19
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 20 of 22




       Information that is critical to this Plaintiff’s claim, such as Plaintiff’s VIN, documents A-

G and signed certification were requested on April 6, 2011. In response to the PTO 88 items, on

June 29, 2011, Forest River requested additional information from Plaintiff on smoking history

of other trailer residents, request for reimbursement of medical expenses and signed certification.

Forest River received untimely responses from Plaintiff’s Counsel to the Rule 37 Deficiency

Letters. Most importantly, this Plaintiff identified the manufacturer as “Unknown” and listed a

VIN with a 4XTTV prefix, which is not a Forest River prefix.          Therefore, this Plaintiff has

identified a non-Forest River VIN and has failed to identify the manufacturer. Thus, Forest

River has received a deficient fact sheet that plaintiff has not timely cured. Further, it has not

received any requests for extensions, any other kinds of responses or a production of any PFS

Amendments or errata sheets with regard to the plaintiff.


       In addition to not knowing who manufactured the FEMA housing unit she stayed in, the

Plaintiff Fact Sheet failed to answer the following key questions required by PTO 88:


                INFORMATION/DATA                            PFS SECTION
               Manufacturer                                     V.A.1.
               Signed Certification
       (See Ex. “M”)


       While Eloise E. Gums has answered 22 of the required 23 key questions, her PFS

remains deficient. She does not know who manufactured the FEMA housing unit she occupied,

listed a non-Forest River VIN, does not belong in a suit against Forest River and should be

dismissed on that basis.


       In addition to the above noted uncured PFS deficiencies, the above listed plaintiffs admit

that they either did not stay in a Forest River housing unit or did not know who manufactured the


                                                20
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 21 of 22




unit they stayed in. Additionally, Bradford C. Brooks, Sholanda Captain o/b/o S.C., Melwyn

Clayton o/b/o D.C., Kenneth J. Dimery, Michelle Johnson and Spencer E. Vitto, Sr. have all

failed to comply with the matching requirements and have missed their matching deadline. As it

prepares for additional litigation, evaluates the possibility of settlement, and analyzes other

issues concerning the progress of this lawsuit, Forest River must be able to obtain information

about those who make allegations against it. The PFS serves as the best way to acquire such

information, as the PFS acts as the initial round of discovery responses. With a deficient

simulated discovery response, Forest River is significantly prejudiced, and there is good cause

for the Court to discontinue any potential for further prejudice against Forest River by dismissing

the claims of these plaintiffs.


        In accordance with Pre-Trial Orders 2, 32, 38, 49 and 68, and Federal Rules of Civil

Procedure Nos. 37(b)(2)VI and 41(b), the Motion to Dismiss filed by Forest River should be

granted, dismissing the claims of the above listed plaintiffs, with prejudice.

                                              Respectfully Submitted,

                                              GIEGER, LABORDE & LAPEROUSE, LLC


                                              BY: /s/ Ernest P. Gieger, Jr.
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                                                 21
 Case 2:07-md-01873-KDE-MBN Document 23894-1 Filed 12/14/11 Page 22 of 22




                               CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the forgoing document has been served

upon counsel of record as indicated below in accordance with the Federal Rules of Civil

Procedure on December 14, 2011 via electronic filing.



                                            _/s/ Ernest P. Gieger, Jr.




                                              22
